
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                                     
                                 ____________________

        No. 95-1235

                                CARLOS ROMERO-BARCELO,

                                Plaintiff, Appellant,

                                          v.

                           MIGUEL HERNANDEZ-AGOSTO, ET AL.,

                                Defendants, Appellees.

                                                     
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                 [Hon. Jaime Pieras, Jr., Senior U.S. District Judge]
                                          __________________________

                                                     
                                 ____________________

                                Selya, Cyr and Lynch,

                                   Circuit Judges.
                                   ______________

                                                     
                                 ____________________




             Michael J.  Rovell, with  whom Lisa I.  Fair, Hilary  A. Higgins,
             __________________             _____________  __________________
        Carlos  G. Latimer  and  Latimer, Biaggi,  Rachid, Rodriguez,  Suris &amp;
        __________________       _____________________________________________
        Godreau were on brief for appellant.
        _______
             Marcos  A. Ram rez-Lavandero,  with whom Eduardo  A. Vera-Ram rez
             ____________________________             ________________________
        and  Marcos  A.  Ram rez-Lavandero  &amp; Associates  were  on  brief  for
             ___________________________________________
        appellees.


                                                     
                                 ____________________

                                   January 31, 1996
                                                     
                                 ____________________























































































                    CYR,  Circuit Judge.   This  appeal  involves the  most
                    CYR,  Circuit Judge.
                          _____________

          recent  installment  in  the ongoing  Cerro  Maravilla  political

          scandal, which has  engaged public attention in  the Commonwealth

          of  Puerto Rico  for more  than fifteen  years, and  enlisted our

          attention  on  several  occasions since  1981.    In  this latest

          sequel, plaintiff  Carlos Romero-Barcelo  (or "appellant")  chal-

          lenges  a district court judgment dismissing various civil rights

          claims, with  prejudice, based  on absolute legislative  immunity

          and failure to state a claim, and dismissing, without  prejudice,

          certain  pendent claims  under Puerto  Rico law.   We  affirm the

          district court judgment in all respects.


                                          I
                                          I

                                     BACKGROUND1
                                     BACKGROUND
                                     __________

                    On  February 22,  1981, the  Puerto  Rico Senate,  then

          controlled by the Popular Democratic Party ("PDP"), authorized an

          investigation  into the  brutal ambush  and murders  of  two pro-

          independence youths,  Arnaldo  Dario-Rosado    and  Carlos  Soto-

          Arrivi, by Commonwealth police officers at Cerro Maravilla in the

          mountains of Puerto Rico during the summer  of 1978.  At the time

          of  the murders,  appellant Romero-Barcelo  was  the Governor  of

          Puerto Rico, and  headed the New Progressive  Party ("NPP") which

          controlled the  Senate.   As  part of  the Senate  investigation,

          subpoenas  were issued  for documents  in the  possession of  the
                              
          ____________________

               1Rule 12(b)(6) dismissals are reviewed under the rubric that
          "all  reasonable inferences  from well-pleaded  facts  are to  be
          drawn  in  appellant['s]  favor."    Calero-Colon v.  Betancourt-
                                               ____________     ___________
          Lebron, 68 F.3d 1, 2 n.1 (1st Cir. 1995).
          ______

                                          3














          Puerto  Rico  Justice Department.    In  due course,  this  court

          vacated a district court order  quashing the subpoenas, In re San
                                                                  _________

          Juan Star  Co., 662 F.2d 108, 111,  118-20 (1st Cir. 1981), while
          ______________

          noting that  a state legislature  might be enjoined "in  a proper

          case."  Colon Berrios  v. Hernandez Agosto, 716 F.2d 85,  88 (1st
                  _____________     ________________

          Cir. 1983) (internal quotation marks omitted).

                    Following  the  San  Juan  Star  decision,  the  Senate
                                    _______________

          Judiciary Committee (or "Committee")  gained access to  materials

          which    together with other documents and testimony gathered  in

          executive session     formed  the basis  for televised  Committee

          hearings (or "Hearings")  which began June 15, 1983.   The Senate

          voted to pay to televise the Hearings on a commercial station and

          "the  hearings  were  apparently  widely  viewed."   Id.  at  87.
                                                               ___

          Thereafter,  we reversed a district court order enjoining Commit-

          tee members and  their agents from compelling some  of the defen-

          dants  in a  separate  civil  rights action  arising  out of  the

          murders of Dario-Rosado and  Soto-Arrivi (the "Soto" litigation),

          see  Soto v.  Romero Barcelo,  559 F.  Supp. 739,  740-41 (D.P.R.
          ___  ____     ______________

          1983), to appear and testify publicly at the Hearings; and, "from

          publishing documents in the [Committee members'] possession  that

          are covered by  the protective order issued in  [the Soto litiga-

          tion] or that are transcripts  of testimony before the  Committee

          by [some  of the Soto defendants]."   Colon Berrios,  716 F.2d at
                                                _____________

          86, 87.  

                    The Hearings were reconvened in  October 1984, prepara-

          tory  to the  November  1984  gubernatorial  elections  in  which


                                          4














          Romero-Barcelo ran for reelection and lost.  Following a break in

          the political action, the most  recent round of Hearings began in

          October  1991,  as a  prelude  to a  PDP-sponsored  referendum in

          December  1991  on   the  future  intergovernmental  relationship

          between Puerto Rico and  the United States.  Once  Romero-Barcelo

          announced his candidacy for Resident Commissioner, these Hearings

          were extended through May  1992.  During the latter phases of the

          Hearings, while the PDP controlled the Senate, defendant-appellee

          Miguel Hernandez-Agosto  served as  Senate President,  defendant-

          appellee Marco Antonio-Rigau headed  the Senate Judiciary Commit-

          tee, and  defendant-appellee Edgardo Perez-Viera,  chief counsel,

          directed Committee investigative efforts. 

                    Appellant  Romero-Barcelo  claims,   inter  alia,  that
                                                         _____  ____

          Committee members slanted and manipulated the Committee testimony

          and evidence to suggest that he had been involved in the planning

          and shooting of the two youths at  Cerro Maravilla, and in subse-

          quent attempts to cover up the murders.  He alleges that witness-

          es were interviewed in private, without legal assistance; subpoe-

          nas were issued without notifying all Committee members; only one

          Committee investigator was appointed and he reported  exclusively

          to  the PDP  majority; access  to all  documents,  transcripts of

          testimony, evidence, and  reports was restricted to  PDP members,

          their aides  and assistants; the Committee violated a Puerto Rico

          Supreme Court order  that the  documents and  other materials  be

          made  available to the  NPP minority; witnesses  were not allowed

          access to transcripts of their prior testimony before testifying;


                                          5














          an  investigative  report     finding  no  wrongdoing  by Romero-

          Barcelo    was covered up;  the witness microphone was turned off

          when  testimony  did  not suit  defendants  Hernandez-Agosto  and

          Antonio-Rigau, or other PDP members.  

                    Romero-Barcelo alleges  that  from the  late 1970s  the

          defendants  and the  Committee continuously  labelled  him as  an

          assassin  or murderer, even though no evidence was ever submitted

          to  substantiate  the  charge;  that  defendant  Perez  presented

          information  at  the  Hearings, and  subsequently  through  press

          releases and  television and radio  interviews, knowing it  to be

          false or misleading; that the defendants continually disseminated

          false  information  outside  the  legislative  chambers,  through

          television broadcasts made at government expense, press  releases

          and  interviews  arranged  and conducted  at  the  Legislature in

          public  areas  and  at  television  studios,  political  speeches

          delivered in  various municipalities, press  releases distributed

          to news media  within and beyond Puerto Rico,  as well as written

          and oral communications to the  United States Senate and House of

          Representatives,  federal departments,  and agencies.   Appellant

          complains that the defendants held press conferences at radio and

          television stations and  other public forums after  the Hearings,

          publicly passing judgment on statements made before the Committee

          regarding  the credibility of witnesses, the strength or weakness

          of  the evidence,  and  publicly  accusing  witnesses  and  third

          parties, including Romero-Barcelo, of perjury  before the Commit-

          tee.   This  campaign allegedly  was carried  out through  public


                                          6














          speechmaking and political  campaign rallies, as well  as televi-

          sion and radio broadcasts, newspapers,and by other public means. 

                    In September  1992, appellant  brought suit  in federal

          district  court under 42  U.S.C.   1983,  asserting violations of

          his  First,  Fifth,  and Fourteenth  Amendment  rights  under the

          United States Constitution,  and under 42  U.S.C.   1985(3),  for

          conspiracy to  deprive him  of these constitutional  rights.   He

          demanded compensatory and punitive  damages, costs, and  attorney

          fees.  See 28  U.S.C.    1331 (federal question)  and 1343 (civil
                 ___

          rights and elective franchise).  Finally, he alleged supplemental

          claims  for libel  and  slander under  Puerto Rico  law.   See 28
                                                                     ___

          U.S.C.    1367.   The defendants  moved to dismiss  under Fed. R.

          Civ. P.  12(b)(6), asserting absolute  legislative immunity,  and

          failure  to state  a claim.    The district  court dismissed  all

          federal claims, with prejudice, and the libel and slander claims,

          without prejudice.  Romero-Barcelo appealed.

                                          II
                                          II

                                     DISCUSSION2
                                     DISCUSSION
                                     __________

                    We first consider the alleged conduct that the district

          court found  to  be  protected  under the  doctrine  of  absolute

                              
          ____________________

               2We review  Rule  12(b)(6) dismissals  de novo.   Clarke  v.
                                                      __ ____    ______
          Kentucky  Fried Chicken of  Cal., Inc., 57  F.3d 21, 22  n.1 (1st
          ______________________________________
          Cir.  1995).  "The  pleading requirements, though  'minimal,' are
          not  'non-existent.'"   Rumford Pharmacy,  Inc. v.  City of  East
                                  _______________________     _____________
          Providence, 970 F.2d 996, 998  (1st Cir. 1992) (quoting Gooley v.
          __________                                              ______
          Mobil  Oil Corp.,  851 F.2d  513,  515 (1st  Cir. 1988)  ("Modern
          ________________
          notions of 'notice  pleading' notwithstanding, a plaintiff .  . .
          is  nonetheless required to set forth factual allegations, either
          direct or inferential, respecting each material element necessary
          to sustain recovery under some actionable legal theory.")).

                                          7














          legislative immunity.   Next, we determine whether  the remaining

          conduct in which defendants are alleged to have engaged gave rise

          to  any actionable  claim under  either section  1983  or section

          1985(3).  

          A.   Absolute Legislative Immunity
          A.   Absolute Legislative Immunity
               _____________________________

                    A defense  of absolute legislative  immunity for  state

          legislators has been  recognized since 1951.  Colon  Berrios, 716
                                                        ______________

          F.2d at 89 (citing Tenney v. Brandhove, 341 U.S. 367 (1951)).  Of
                             ______    _________

          course,  absolute  immunity  affords  protection  not  only  from

          liability but from  suit.  Agromayor v. Colberg, 738  F.2d 55, 57
                                     _________    _______

          (1st Cir.), cert. denied, 469 U.S. 1037 (1984)  (citing Helstoski
                      _____ ______                                _________

          v.  Meanor,  442 U.S.  500,  506-08 (1979)).    State legislative
              ______

          immunity  is "'similar in  origin and rationale  to that accorded

          Congressmen  under the  Speech or  Debate Clause'" of  the United

          States Constitution.   Negron-Gaztambide v. Hernandez-Torres,  35
                                 _________________    ________________

          F.3d 25, 27 (1st Cir. 1994), cert. denied, 115 S. Ct. 1098 (1995)
                                       _____ ______

          (quoting Supreme  Court of Va.  v. Consumers Union of  the United
                   _____________________     ______________________________

          States,  Inc., 446 U.S. 719, 732 (1980)).   Although not based on
          _____________

          the doctrine  of separation of  powers, as is  the constitutional

          immunity  accorded Members  of  Congress, the  state  legislative

          immunity defense nonetheless implicates "principles of comity and

          federalism . . . ."  Agromayor, 738 F.2d at 58-59  (citing United
                               _________                             ______

          States  v. Gillock,  445  U.S.  360, 370-73  (1980)).   See  also
          ______     _______                                      ___  ____

          National Ass'n  of Social  Workers v. Harwood,  69 F.3d  622, 628
          __________________________________    _______

          (1st Cir. 1995).




                                          8














                    The immunity defense in this case protects only conduct

          within  the "sphere of  legitimate legislative activity."   Colon
                                                                      _____

          Berrios, 716 F.2d  at 89 (citing  Doe v. McMillan, 412  U.S. 306,
          _______                           ___    ________

          320  (1973); Tenney, 341  U.S. at 376-77).   Absolute legislative
                       ______

          immunity "is justified and  defined by the functions it  protects
                                                     _________

          and serves,  not by  the person to  whom it  attaches."   Negron-
                                                                    _______

          Gaztambide, 35 F.3d  at 27 (quoting Forrester v.  White, 484 U.S.
          __________                          _________     _____

          219,  227 (1988)).   "[I]t is  the nature  of the  particular act

          rather than the title of the office which governs whether immuni-

          ty  attaches."  Acevedo-Cordero v. Cordero-Santiago, 958 F.2d 20,
                          _______________    ________________

          21 (1st Cir. 1992); see also Agromayor, 738 F.2d at 59.  "Acts  .
                              ___ ____ _________

          . .  that are  administrative  in nature  do  not 'give  rise  to

          absolute  immunity  from  liability in  damages  under    1983.'"

          Negron-Gaztambide, 35  F.3d at 28 (quoting Forrester, 484 U.S. at
          _________________                          _________

          229); see also  Agromayor, 738 F.2d at 59-60;  Cutting v. Muzzey,
                ___ ____  _________                      _______    ______

          724 F.2d 259, 261-62 (1st Cir. 1984).

                    The scope of state legislative immunity from suit under

          section  1983  is  "essentially  coterminous" with  the  absolute

          immunity accorded members of Congress  under the Speech or Debate

          Clause  of  the  United States  Constitution  (or  "the Clause").

          Harwood, 69 F.3d at 629 (citing Supreme Court of Va., 446 U.S. at
          _______                         ____________________

          732-33).   For the Clause  to apply,  the activity  must be  "'an

          integral  part of the deliberative and communicative processes by

          which Members participate in committee and House proceedings with

          respect to the consideration and passage or rejection of proposed

          legislation or with respect to  other matters which the Constitu-


                                          9














          tion places within the jurisdiction  of either House.'"  Agromay-
                                                                   ________

          or, 738  F.2d at 59  (quoting Gravel  v. United States,  408 U.S.
          __                            ______     _____________

          606, 625  (1976)).   It  does not  cover "actions  that are  only

          'casually  or  incidentally  related  to  legislative  affairs,'"

          Harwood, 69 F.3d  at 630 (quoting United States  v. Brewster, 408
          _______                           _____________     ________

          U.S. 501, 528  (1972)), "or  which fall  outside the  'legitimate

          legislative sphere.'"   Id.  (quoting Eastland  v. United  States
                                  ___           ________     ______________

          Servicemen's Fund, 421 U.S. 491, 503 (1975)).    
          _________________

                    "While  the core  protection  conferred  by the  Clause

          concerns speech or debate by a member of Congress on the floor of

          either the Senate or the House", id. (citing Gravel,  408 U.S. at
                                           ___         ______

          625), "the  penumbra of  the Clause sprawls  more broadly."   Id.
                                                                        ___

          For  example, the Clause  covers voting; id.  (citing Kilbourn v.
                                                   __           ________

          Thompson,  103 U.S.  168, 204  (1880));  "conduct at  legislative
          ________

          hearings," but not  "private publication by a Senator  on his own

          behalf  of documents  submitted at  a  hearing .  . .  ";   Colon
                                                                      _____

          Berrios,  716 F.2d  at 90  (citing Gravel,  408 U.S.  at 624-27);
          _______                            ______

          "members . . . and their staffs" for preparation of "an allegedly

          defamatory report"; id.; and members  in "voting for its publica-
                              __

          tion,"  but not "general public dissemination  [of the report] by

          legislative functionaries."   Id.  (citing Doe, 412  U.S. at 313-
                                        ___          ___

          14).  The  Clause covers "a committee hearing  or report designed

          to  inform the [legislative]  membership," but not  an individual

          "Senator's  publication of press  releases or news  letters," id.
                                                                        __

          (citing Hutchinson v. Proxmire, 443 U.S. 111, 123-33 (1979)), nor
                  __________    ________

          individual  "political"  activities,  such  as  are  involved  in


                                          10














          "legitimate 'errands' performed for  constituents, the making  of

          appointments  with  Government  agencies,  [and]  assistance   in

          securing Government contracts."   Harwood, 69 F.3d at 631 (alter-
                                            _______

          ation in original) (quoting Brewster, 408 U.S.  at 512) (internal
                                      ________

          quotation marks omitted).

                    The district  court concluded that  the Cerro Maravilla

          hearings "fell well within the legitimate legislative sphere" and

          "that  the defendants  are  therefore immune  from  any civil  or

          criminal prosecution  based on  conduct directly  related to  the

          Cerro Maravilla investigations."  Barcelo v. Agosto, 876 F. Supp.
                                            _______    ______

          1332, 1342-43  (D.P.R. 1995).   The court  relied on  our earlier

          analysis of the Hearings:

                    The  hearings  were  properly  authorized  by
                    Puerto  Rico Senate  Resolution 91  (February
                    22, 1981), which provides a specific  mandate
                    to the Senate  Judiciary Committee to inquire
                    into the activities of  the police and  other
                    agencies of the government leading up  to and
                    during the  Cerro Maravilla incident  as well
                    as the  behavior of the  executive branch  in
                    response to the incident.
                         Investigations such as this Senate Judi-
                    ciary Committee  investigation constitute  an
                    essential component  of the  legislative pro-
                    cess. . . .

          Id. (quoting Colon Berrios, 716 F.2d at 90).  
          ___          _____________

                    The  district court then held that all of Romero-Barce-

          lo's  "claims  regarding  allegedly  unconstitutional  procedures

          employed by  the Committee relating to the issuance of subpoenas,

          the examination of witnesses,  and the gathering of  evidence, as

          well as his claims regarding the allegedly unlawful use of public

          funds to broadcast the hearings and regarding slanderous comments


                                          11














          allegedly  made by  the defendants  must be  DISMISSED."   Id. at
                                                                     ___

          1343.   The court  dismissed the claims  against Hernandez-Agosto

          and Antonio-Rigau,  members of  the Puerto  Rico Legislature,  as

          well as the claim against Perez-Viera, chief counsel and investi-

          gator for the  Committee.  Id.  at 1343  n.8 (citing Eastland  v.
                                     ___                       ________

          United  States  Servicemen's Fund,  421  U.S. at  507  (Speech or
          _________________________________

          Debate Clause immunity for issuance by investigative subcommittee

          extends to its chief counsel)).   The court also rejected Romero-

          Barcelo's  claim "that the defendants abused their positions and,

          solely  [for]  political  reasons,  slanted  or  manipulated  the

          testimony offered during the hearings to portray the plaintiff in

          a negative light."   Id. at 1343 (citing Tenney, 341  U.S. at 377
                               ___                 ______

          ("The claim  of an unworthy  purpose does not destroy  the privi-

          lege.")).  The  district court ruled, however,  that "defendants'

          alleged  dissemination  of  false,   defamatory,  and  slanderous

          information about  the plaintiff  through press  releases, inter-

          views, and speeches  occurring outside the strict  scope of their

          legislative duties" was  not protected  by legislative  immunity.

          Id. (citing Hutchinson, Gravel, and Doe). 
          ___         __________  ______      ___

               1.   Allegations of Criminal Misconduct  
               1.   Allegations of Criminal Misconduct  
                    __________________________________

                    Appellant  argues  that the  defendants  are liable  in

          damages under section 1983 for their alleged  criminal conduct   
                                                        ________

          including subornation  of perjury, intimidation of  witnesses and

          obstruction of justice during  the Hearings    even  assuming the

          Hearings were a proper legislative function.  Citing to Brewster,
                                                                  ________

          408 U.S. at 526, he relies  for further support on the  reasoning


                                          12














          in Gravel,  408 U.S. at 626:  "While  the Speech or Debate Clause
             ______

          recognizes speech, voting,  and other legislative acts  as exempt

          from liability that might otherwise attach, it does not privilege

          either Senator  or aide to  violate an otherwise criminal  law in

          preparing for or implementing legislative acts."  

                 Romero-Barcelo's reliance  on Gravel and  Brewster is mis-
                                               ______      ________

          placed, however, as  those cases concerned whether  a legislative

          immunity defense based  on the Speech or  Debate Clause protected

          Members  of Congress  from  federal  criminal  prosecution.    In
                                      _______  ________  ___________

          Gillock,  the  Supreme  Court  carefully  distinguished  a  State
          _______

          legislator's narrower right to absolute legislative immunity from

          private  civil  actions,  which does  not  include  immunity from

          federal criminal prosecution.  

                    First, Tenney was a civil action brought by a
                           ______
                    private   plaintiff   to   vindicate  private
                    rights.   Moreover, the  cases in this  Court
                    which have recognized an immunity from  civil
                    suit  for state  officials have  presumed the
                    existence of federal criminal  liability as a
                    restraining factor  on the  conduct of  state
                    officials.  .  . .  Thus,  in protecting  the
                    independence of state legislators, Tenney and
                                                       ______
                    subsequent  cases on  official immunity  have
                    drawn the line at civil actions.

          445 U.S. 372-73.   Absolute immunity from suit  for civil damages

          under  section 1983 allegedly based  on criminal conduct does not

          necessarily  immunize the  legislator or  his  aide from  federal










                                          13














          criminal  prosecution.3   But the  legislator  is immunized  from

          suit for damages under section 1983.  










































                              
          ____________________

               3As the  district  court  dictum  concerning  immunity  from
          criminal  prosecution "based on  conduct directly related  to the
          Cerro Maravilla investigations,"   Barcelo, 876 F. Supp. at 1343,
                                             _______
          is not necessary to its holding,  nor to ours, we do not  endorse
          it. 

                                          14














               2.   Contemporaneous Telecasting of Hearings   
               2.   Contemporaneous Telecasting of Hearings   
                    _______________________________________

                    Appellant  argues  that  defendants'  decision  to  use

          public funds to finance live  telecasts of these Hearings was not

          protected  by absolute legislative  immunity.  The  Supreme court

          made clear, in Doe, 412 U.S. at  313-14, that the introduction of
                         ___

          documents at an open legislative hearing is protected conduct but

          a private republication of the  documents by a Member of Congress

          is  not.  We  hold that the legislative  decision to sponsor live

          telecasts of the open Committee hearings authorized a legislative

          disclosure     rather  than  a  private  republication      which

          clothed defendants with  absolute legislative immunity from  suit

          under  section  1983.4   But  even  assuming  the contemporaneous

          "publication" of  the open  Hearings went  beyond the  reasonable

          requirements of  the legislative  function, a  matter  we do  not

          decide,  defendants' determination  that the  Hearings  should be

          televised  at  public  expense  constituted  legislative  conduct

          absolutely immune from  civil suit.  Doe, 412  U.S. at 315 ("Mem-
                                               ___

          bers of Congress are themselves immune for ordering or voting for


                              
          ____________________

               4In Hutchinson, 443 U.S. at 116 n.3, the Supreme Court said:
                   __________
          "we assume,  without  deciding,  that a  speech  printed  in  the
          Congressional  Record carries immunity under the Speech or Debate
          Clause as though delivered on the floor."  Accordingly, the Court
          did  not take  issue with  a  district court  suggestion that  "a
          television or  radio broadcast of  [a Senator's] speech  from the
          Senate  floor" would  receive  the protection  of  the Speech  or
          Debate Clause.  Id. at 119.  But the Court did not agree with the
                          __
          suggestion that  such  a  broadcast  is analogous  to  a  Senator
          issuing  a press release  relating to a  floor speech.   Id.  See
                                                                   __   ___
          also Cable  News Network  v. Anderson, 723  F. Supp.  835 (D.D.C.
          ____ ___________________     ________
          1989) (Speech or Debate Clause bars judicial review of House rule
          regulating television coverage of hearings). 

                                          15














          a publication  going beyond  the reasonable  requirements of  the

          legislative function . . . .").5  

               3.   Immunity of Committee Counsel
               3.   Immunity of Committee Counsel
                    _____________________________

                    Next,  appellant argues that the immunity of a legisla-

          tive  aide is  less broad  than that  available to  a legislator.

          Consequently, says appellant, the chief counsel to the Committee,

          defendant-appellee  Perez-Viera, is not immune from suit.  Appel-

          lant relies  on Dombrowski  v. Eastland, 387  U.S. 82,  85 (1967)
                          __________     ________

          (per  curiam),  wherein the  Supreme  Court affirmed  a  grant of

          summary judgment  for the Chairman  of a Senate  subcommittee but

          reversed  a summary  judgment  order  in  favor  of  subcommittee

          counsel, explaining that the "doctrine [of  legislative] immunity

          is less absolute,  although applicable, when applied  to officers

          or employees  of a legislative  body, rather than  to legislators

          themselves."   Eight years  later, the  Supreme Court  considered

          whether the  absolute immunity  of the  same Senate  Subcommittee

          Chairman extended to the same  subcommittee counsel.  Eastland v.
                                                                ________

          United States Serviceman's Fund, 421  U.S. at 506-508.  The Court
          _______________________________
                              
          ____________________

               5Appellant argues that it was improper to grant judgment for
          defendants under  Rule 12(b)(6), because  further factfinding was
          required  to determine whether their decision to use public funds
          to  finance live telecasts  is protected by  absolute legislative
          immunity.  Appellant relies on  dicta in Colon Berrios, declining
                                                   _____________
          to reach "the issue of  whether the Senate's expenditure of funds
          for live television  broadcast of the  hearings falls within  the
          legitimate  legislative sphere"  because, inter  alia, it  "would
                                                    _____  ____
          involve  extensive  fact-finding"  relating  to  First  Amendment
          issues regarding  prior restraint.   716  F.2d 90  n.3.   In this
          case,  however, there  is no  need to  reach the  First Amendment
          matters which loomed in Colon Berrios, since we are not reviewing
                                  _____________
          a Rule 12(b)(6) denial of injunctive relief, but a dismissal of a
          civil  rights action  for damages  based in  part on  a broadcast
          which has already occurred.  

                                          16














          "[drew] no  distinction between the  Members and the  Chief Coun-

          sel," id. at 507, stating  that "the day-to-day work of [legisla-
                ___

          tive] aides is so critical  to the Members' performance that they

          must  be  treated as  [the Members']  alter egos  . .  . ."   Id.
                                                                        ___

          (alteration in  original) (quoting  Gravel, 408  U.S. at  616-17)
                                              ______

          (internal  quotation marks  omitted).   It  noted, however,  that

          "[t]he complaint .  . . does not distinguish  between the activi-

          ties  of the  Members and  those of  the Chief  Counsel," thereby

          distinguishing Dombrowski v. Eastland.  Id.            Appellant
                         __________    ________   ___

          argues that his complaint does distinguish between the activities

          of  Hernandez-Agosto  and  Antonio-Rigau, on  the  one  hand, and

          Perez-Viera  on the other.  Nevertheless, the relevant allegation

          in  the complaint     that  chief  counsel Perez-Viera  presented

          information at the Committee hearings, knowing it to be false and

          misleading    is part and  parcel of the parallel allegation that

          all  legislator-defendants  used   the  Hearings  to  disseminate

          information  about  Romero-Barcelo,  knowing it  to  be  false or

          misleading.  Thus, in applying the doctrine of absolute  legisla-

          tive immunity to these facts,  we draw no distinction between the

          legislator-defendants and Committee counsel.    

          B.   Civil Rights Claims
          B.   Civil Rights Claims
               ___________________

                    We  next consider  the claims  not  barred by  absolute

          legislative immunity.  

               1.   Section 1983
               1.   Section 1983
                    ____________

                    "An  actionable  section 1983  claim must  allege facts

          sufficient  to  support  a determination  '(i)  that  the conduct


                                          17














          complained of  has been committed  under color of state  law, and

          (ii) that [the alleged] conduct worked a denial of rights secured

          by  the Constitution  or laws  of the  United States.'"   Rumford
                                                                    _______

          Pharmacy, Inc. v. City of East Providence, 970 F.2d 996, 998 (1st
          _____________     _______________________

          Cir. 1992) (quoting Chongris v. Board of Appeals, 811 F.2d 36, 40
                              ________    ________________

          (1st Cir.), cert. denied, 483 U.S. 1021 (1987)).
                      ____  ______

                    a.   Procedural Due Process
                    a.   Procedural Due Process
                         ______________________

                    A viable  procedural due process claim must demonstrate

          a  "deprivation by state  action of a  constitutionally protected

          interest  in 'life,  liberty, or  property' .  . .   without  due
                                                               _______  ___

          process  of law."   Lowe v.  Scott, 959  F.2d 323, 340  (1st Cir.
          _______  __ ___     ____     _____

          1992)  (quoting  Zinermon v.  Burch,  494 U.S.  113,  125 (1990))
                           ________     _____

          (internal quotation marks omitted).6  

                         i.   Deprivation of Liberty Interest 
                         i.   Deprivation of Liberty Interest 
                              _______________________________

                    Romero-Barcelo alleges  that the  defamatory statements

          by defendants  deprived him of  a "liberty" interest in  his good

          name and reputation.  Barcelo, 876 F. Supp. at 1344.  The Supreme
                                _______

          Court  has made  it clear  that  an actionable  deprivation of  a

          liberty interest  in one's reputation  "must be accompanied  by a

          change  in the  [victim's] status  or  rights (under  substantive

          state  or  federal law),  perhaps  as a  touchstone  (or concrete

          evidence) of the fact that the injury to reputation was inflicted

          as part of a conscious government policy and is serious enough to

          interfere with other liberties of the sort suggested in Meyer [v.
                                                                  _____
                              
          ____________________

               6Of  course, if  the challenged  conduct  constitutes "state
          action," the  "color of  state law" requirement  is met  as well.
          Lugar v. Edmonson Oil Co., 457 U.S. 922, 935 (1982).
          _____    ________________

                                          18














          Nebraska, 262  U.S. 390 (1923)],"  Beitzell v. Jeffrey,  643 F.2d
          ________                           ________    _______

          870, 878  (1st Cir. 1981)  (citing Paul  v. Davis, 424  U.S. 693,
                                             ____     _____

          706, 708, 710  (1976) (in the absence of  more tangible interests

          such  as employment,  reputation alone  is  neither a  "property"

          interest nor a "liberty" interest sufficient to require procedur-

          al due process)),  such "as the  right 'to engage  in any of  the

          common occupations  of life,' or  'to marry, to establish  a home

          and bring up children.'"  Id.  at 877 (citing Meyer, 262 U.S.  at
                                    ___                 _____

          399).   As this court indicated in  Beitzell, no constitutionally
                                              ________

          protected "liberty"  interest in  reputation is  infringed unless

          the reputational harm is "unusually serious . . . as evidenced by

          the  fact that  employment (or  some  other right  or status)  is

          affected."  Id. at 878.  
                      ___

                    The district court  concluded that no serious  harm had

          befallen  Romero-Barcelo.   Barcelo, 876  F.  Supp at  1345.   It
                                      _______

          observed  that he had been elected Resident Commissioner in 1992,

          "immediately  after the last barrage of allegedly libelous state-

          ments."   Id.   The  district court  noted as  well  that Romero-
                    __

          Barcelo had lost the gubernatorial election in 1984, but it ruled

          that any  claim based  on that "serious  harm," some  eight years

          earlier, was time-barred.  Id.  at 1346 (citing Wilson v. Garcia,
                                     __                   ______    ______

          471 U.S. 261,  276 (1985) (in section 1983  action, court borrows

          local limitation  period applicable to personal  injury actions);

          Calero-Colon v. Betancourt-Lebron, 68 F.3d 1, 2-3 (1st Cir. 1995)
          ____________    _________________






                                          19














          (citing to  P.R. Laws Ann.  tit. 31,   5298(2)  (1991)) (one-year

          limitation on personal injury actions).7 

                         ii.  The Process Due
                         ii.  The Process Due
                              _______________

                    Romero-Barcelo  claims a deprivation of his right to be

          free from  "'abusive attacks on his honor, reputation and private

          or family life'  as established by Article II,  Section 8, of the

          Puerto Rico  Constitution."   Barcelo,  876  F. Supp.  at  1346.8
                                        _______

          Although the Section 8 claim  is based in commonwealth law, hence

          not  directly actionable under section 1983, Quintero de Quintero
                                                       ____________________

          v. Aponte-Roque, 974 F.2d 226, 230 (1st Cir. 1992), Section 8 may
             ____________

          give  rise  to a  constitutionally protected  "liberty interest."

          Assuming  arguendo, as  did the  district court,  that  Section 8
                    ________

          creates  a  constitutionally  protected  "liberty"  interest,  we

          consider whether Romero-Barcelo received the process due. 

                    The process due  depends in large  part on the  circum-

          stances.  Watson v.  Caton, 984 F.2d 537, 540-41 (1st  Cir. 1993)
                    ______     _____

          (per  curiam) (citing  Mathews  v. Eldridge,  424  U.S. 319,  335
                                 _______     ________
                              
          ____________________

               7Appellant misplaces  reliance on Limerick v. Greenwald, 666
                                                 ________    _________
          F.2d 733 (1st Cir. 1981), wherein a timely complaint alleged that
          defendants'  actions  threatened  "unusually   serious  harm"  to
          plaintiffs' reputations,  "stripping them of  their responsibili-
          ties as bank  managers and threatening their  future employabili-
          ty."   Id. at  735.   On appeal,  Romero-Barcelo claims,  for the
                 __
          first  time,  that his  law practice  suffered.   He urges  us to
          assume as  much based on  defendants' efforts to  brand him  as a
          "murderer" and  "assassin."  We decline his  invitation to bypass
          trial court consideration of  this factual question in the  first
          instance.  See Havinga v. Crowley Towing and Transp. Co., 24 F.3d
                     ___ _______    ______________________________
          1480, 1483 n.5 (1st Cir. 1994).

               8Article II,   8, provides:  "Every person has the  right to
          the  protection  of law  against  abusive attacks  on  his honor,
          reputation and private  or family life."  P.R. Const., art. II,  
          8.

                                          20














          (1976)).   As  noted in  Watson, the  "cases distinguish  sharply
                                   ______

          between deprivations caused by  'random, unauthorized' conduct of

          state  officials, and deprivations caused by conduct 'pursuant to

          established  state procedure.'"   Id. at  541 (quoting  Hudson v.
                                            __                    ______

          Palmer, 468 U.S. 517, 532 (1984)).  "For the former, the state is
          ______

          not automatically liable; in the latter case there may be liabil-

          ity where  the state policy  approves or directs the  conduct but

          falls below constitutional standards."   Id. (footnote  omitted).
                                                   __

          Romero-Barcelo does not claim, however, that defendants' unimmun-
                                  _____

          ized actions  were taken  pursuant to  either the  Commonwealth's

          direction or  its established policy.   Rather,  he alleges  that

          defendants  made  numerous  libelous  statements  "in  television

          studios, in political speeches made throughout the island, and in

          political press  releases."  Barcelo, 876 F.  Supp. at 1345.  Nor
                                       _______

          has he  alleged that  the actions complained  of were  other than

          "random,  unauthorized conduct"  on the  part  of the  individual

          defendants.

                    It  is rudimentary that a deprivation of procedural due

          process caused by "random, unauthorized conduct" of a State offi-

          cial  is not actionable under section  1983 unless, amongst other

          things, "no adequate 'post-deprivation remedy' is available under

          state law."   Perez-Ruiz v.  Crespo-Guillen, 25 F.3d 40,  42 (1st
                        __________     ______________

          Cir.  1994).  Romero-Barcelo neither alleged nor established that

          Puerto Rico law affords  no adequate remedy for  whatever liberty

          interest deprivation may  have been sustained under Section  8 of

          the  Puerto Rico  Constitution.    Absent  either  an  allegation


                                          21














          regarding  the  inadequacy  of  commonwealth  tort  remedies  for

          slander and libel, or even argumentation on the point, we decline

          to address the question.  See Rumford Pharmacy Inc., 970  F.2d at
                                    ___ _____________________

          999; Monahan v. Dorchester Counseling  Ctr., Inc., 961 F.2d  987,
               _______    _________________________________

          994  n.7  (1st Cir.  1992).   We note  further that  the district

          court's conclusion that Section 8  "is the main source of protec-

          tion against libel  and slander under Puerto Rico  law," Barcelo,
                                                                   _______

          876 F. Supp. at 1346 n.11 (citing Cortes Portalatin v. Hau Colon,
                                            _________________    _________

          3 T.P.R.  1019 (1975)), is  not challenged on  appeal.  See  also
                                                                  ___  ____

          Willhauck v. Halpin, 953 F.2d 689,  704 (1st Cir. 1991) (court of
          _________    ______

          appeals may "affirm on any independently sufficient ground"). 

                    b.   The First Amendment Claim
                    b.   The First Amendment Claim
                         _________________________

                    Appellant  claims  violations  of his  First  Amendment

          rights to freedom of speech and association.  Before the district

          court he claimed "that his right  to free speech was chilled  and

          his right to associate with the NPP was adversely affected by the

          [allegedly]  defamatory  statements  made  by  the   defendants."

          Barcelo, 876 F. Supp.  at 1348.  The district court found, howev-
          _______

          er, "that given the fact that he was elected Resident Commission-

          er  on the NPP ticket, [Romero-Barcelo's] claims regarding injury

          to  his right  to  associate  with the  NPP  ring  hollow."   Id.
                                                                        __

          Further, the court concluded that "there [was] no indication that

          the  defendants compelled  the plaintiff  to  advocate either  an

          unpopular or any  other type of  view."  Id.  at 1348 n.15  (con-
                                                   __

          trasting  Wooley v. Maynard, 430 U.S. 705, 714-15 (1977) (requir-
                    ______    _______

          ing display of  "Live Free or Die" motto on vehicle license plate


                                          22














          violates First Amendment right "to  refrain from speaking.").  We

          agree.  

                    On  appeal,  however, Romero-Barcelo  contends  that he

          "alleged  that he  was singled  out  for .  . .    harassment and

          deprivation  of rights  because  of  his  beliefs  and  political

          association."    The crux  of this  argument is  that defendants'

          alleged  conduct, both  within  the  Hearings  and  without,  was

          undertaken because of Romero-Barcelo's  association with the NPP.

          The  Supreme Court  has held that  the First  Amendment "protects

          nonpolicymakers from being  drummed out of public  service on the

          basis  of  their  political affiliation  or  advocacy  of ideas."

          Correa-Martinez  v. Arrillaga-Belendez, 903  F.2d 49,  56-57 (1st
          _______________     __________________

          Cir. 1990)  (citing Branti v.  Finkel, 445 U.S. 507,  517 (1980);
                              ______     ______

          Elrod v.  Burns, 427 U.S.  347, 357 (1976)  (plurality opinion)).
          _____     _____

          But  Romero-Barcelo most assuredly qualified as an NPP policymak-

          er.  See id. at 57 n.6.  Thus, the district court correctly found
               ___ __

          no First Amendment  protection for "a politician  whose rights to

          freedom  of speech,  freedom  of  association,  and  freedom  'to

          disassociate [oneself] from unpopular views' have been injured by

          other politicians seeking to undermine his credibility within his

          own party  and with the  electorate."   Barcelo, 876 F.  Supp. at
                                                  _______

          1348 (alteration in original) (footnote omitted).

               2.   Section 1985(3)
               2.   Section 1985(3)
                    _______________

                    An actionable  section 1985(3)  claim must  allege that

          (i) the alleged  conspirators possessed "some racial,  or perhaps

          otherwise   class-based,   invidiously   discriminatory  animus,"


                                          23














          Griffin v. Breckenridge, 403 U.S.  88, 102 (1971), and (ii) their
          _______    ____________

          alleged conspiracy  was "aimed at  interfering with rights .  . .

          protected against  private, as  well as  official, encroachment."

          United Bhd. of Carpenters &amp; Joiners of America v. Scott, 463 U.S.
          ______________________________________________    _____

          825, 833 (1983).   See also Libertad  v. Welch, 53 F.3d  428, 446
                             ___ ____ ________     _____

          (1st Cir. 1995) (citing Bray v. Alexandria Woman's Health Clinic,
                                  ____    ________________________________

          113  S. Ct.  753, 758  (1993)).   The conspiracy  allegation must

          identify an overt act.  See Griffin, 403 U.S. at 93; Libertad, 53
                                  ___ _______                  ________

          F.3d at 450 n.18.  If no  racial animus is charged, a discrimina-

          tory  class-based animus  must  be  alleged.   See   Harrison  v.
                                                         ___   ________

          Brooks, 519 F.2d 1358, 1359  (1st Cir. 1975) (citing Griffin, 403
          ______                                               _______

          U.S. at  102).    "The requirement  that  the  discrimination  be

          'class-based' is not satisfied by  an allegation that there was a

          conspiracy  which affected  the interests  of a class  of persons

          similarly  situated with the  plaintiffs.  Rather,  the complaint

          must allege facts  showing that the defendants  conspired against

          the plaintiffs  because of their  membership in a class  and that

          the criteria defining the class were invidious."  Id. at 1359-60.
                                                            __

                    The  complaint alleged that  the three defendants "con-

          spired  . . . to launch a negative publicity campaign funded with

          public funds  and to label [him]  as an assassin and  murderer in

          order  to end his political career  and enhance their own.  [The]

          defendants allegedly  used their  elected political  positions to

          keep  the Committee investigations alive, and to reactivate those

          committee  hearings at  politically advantageous  opportunities."

          Barcelo, 876  F. Supp.  at 1349.   The district court  held these
          _______


                                          24














          allegations  insufficient  to  support a  conspiracy  claim under

          section 1985(3),  rejecting the  implicit assumption  that "since
                                                    __________

          the defendants are  members of the  opposing political party  and

          had  substantial control over  the Committee hearings,  they must

          have had a conspiracy."  Id. at 1350.  The court further found no
                                   __

          allegation  of an  overt act,  and  no articulation  of a  "clear

          class-based  invidious discriminatory  animus behind  the alleged

          actions of the alleged conspirators."  Id.  We agree that Romero-
                                                 ___

          Barcelo's  allegations were  insufficient  to  support a  section

          1985(3) claim. 

                    On  appeal,  Romero-Barcelo  does  not  address   these

          specific  shortcomings in the complaint, choosing instead to rest

          upon a conclusory  statement that the allegations  are sufficient

          for a section  1985(3) claim,9 and the argument  that the height-

          ened pleading requirement for  section 1985(3) conspiracy  claims

          under Slotnick  v. Staviskey,  560 F.2d 31,  33 (1st  Cir. 1977),
                ________     _________

          cert.  denied, 434 U.S. 1077 (1978) ("[C]omplaints cannot survive
          _____  ______

          a  motion to  dismiss if they  contain conclusory  allegations of

          conspiracy but  do not  support their  claims with  references to

          material facts."), is no longer good law, citing to Leatherman v.
                                                              __________

          Tarrant County Narcotics Intelligence &amp; Coordination Unit, 113 S.
          _________________________________________________________

          Ct.  1160 (1993).   Leatherman  rejected  a "heightened  pleading
                              __________

          standard" in  civil rights  actions claiming  municipal liability

          under  section 1983.   Id.  at  1161.   Even assuming  Leatherman
                                 ___                             __________
                              
          ____________________

               9Although appellant argues that he should have been given an
          opportunity to amend  the complaint, our review of  the record on
          appeal discloses no indication that he made such a request below.

                                          25














          applies to the present claim, a matter we need not address, we do

          not view  the failure to  allege essential elements of  a section

          1985(3) claim  as any mere  failure to comply with  a "heightened

          pleading requirement."  See Griffin, 403 U.S. at 102-103. 
                                                                    
                                  ___ _______














































                                          26















                                         III
                                         III

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    For their alleged conduct within the legislative forum,

          we conclude that  defendants were protected by  absolute legisla-

          tive immunity.  For their  conduct outside the legislative forum,

          the  allegations were  insufficient  to  state actionable  claims

          under sections 1983 and 1985(3).  Appellant Romero-Barcelo has no

          actionable  procedural  due  process  claim  under section  1983,

          either  because he  had  no constitutionally  protected "liberty"

          interest,  or because  Puerto Rico  law  afforded whatever  post-

          deprivation process may have been due.  Nor did appellant have an

          actionable First  Amendment claim,  since there  is no  constitu-

          tional  ban  against  the alleged  conduct.    Finally, appellant

          failed to plead all essential elements of an actionable conspira-

          cy claim under section 1985(3).         The     district    court
                                                  The     district    court
                                                  _________________________

          judgment is affirmed.  Costs to appellees.
          judgment is affirmed.  Costs to appellees.
          ____________________   __________________





















                                          27









